IN THE UNITED STATES DISTRICT COURT
FOR MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

UNITED STATES OF AMERICA

No. 3:09-00243-001 Bawa

JUDGE HAYNES plogge 0
(yolk

MOTION IN LIMINE NO. 1— EXCLUDE EXTRANEOUS y LZ FE)
ITEMS OF EVIDENCE SEIZED ON AUGUST 7, 2009
Bee Ds "/eEY)

David A. Fletcher moves this Court to exclude evidence pursuant to Rule 403 of the y

Federal Rules of Evidence. Mr. Fletcher is charged in count one with being a felon in possession
La
of ammunition on or about August 7, 2009. Mr. Fletcher is charged in counts two and three Base

providing false testimony in a judicial proceeding.’ 1 AY

V.

DAVID A. FLETCHER

Federal Rule of Evidence 403 provides a general safeguard against the admission of

unnecessarily prejudicial evidence:

Although relevant, evidence may be excluded if its probative value is

substantially outweighed by the danger of unfair prejudice, confusion of

the issues, or misleading the jury, or by considerations of undue delay,

waste of time, or needless presentation of cumulative evidence.

When agents with the United States Marshals Task Force found the ammunition in the
apartment at the time of Mr. Fletcher’s arrest, they also found a number of other items,
including: social security cards, state I.D.’s, business cards, badges, and photographs which

included Mr. Fletcher holding what appears to be a real firearm. Mr. Fletcher is not charged

with possession of any of these items, or with possessing a firearm. Therefore the evidence is of

 

1 Superseding Indictment; Docket Entry No. 131.

1

BRB WG LAB PCI Bs FIR OSRBAY Page 4 Gs Pagela H: 4294
